Case 3:18-cv-02862-M-BH Document18 Filed 01/29/19 Page1iof5 PagelD 173

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

_BERTRUM JEAN, Individually and as the §
surviving father of BOTHAM SHEM JEAN, §
ALLISON A. JEAN, Individually and as the §
surviving mother of BOTHAM SHEM JEAN §
and ALLISA E. FINDLEY as the §
Administrator of the estate of BOTHAM § >
SHEM JEAN, §
Plaintiffs, § -
VS. : CIVIL ACTION NO. 3:18-cv-02862-M-BH
§
THE CITY OF DALLAS, TEXAS AND §
AMBER GUYGER, §
Defendants. §
APPLICATION FOR ADMISSION PRO HAC VICE
(Complete all questions; indicate “N/A” if necessary.)
I. Applicant is an attorney and a member of the law firm of (or practices under the name of)
Ben Crump Law, PLLC , with offices at

 

122 S. Calhoun Street

 

 

 

(Street Address)

Tallahassee FL 32301
(City) (State) (Zip Code)
(850) 224-2020 (850) 224-2021

(Telephone No.) (Fax No.)

I. —_— Applicant will sign all filings with the name Benjamin L. Crump

IU. Applicant has been retained personally or as a member of the above-named firm by:

(List Ail Parties Represented)

BERTRUM JEAN, Individually and as the surviving father of BOTHAM SHEM JEAN, ALLISON A.
JEAN, Individually and as the surviving mother of BOTHAM SHEM JEAN and ALLISA E. FINDLEY
as the Administrator of the estate of BOTHAM SHEM JEAN.

to provide legal representation in connection with the above-styled matter now pending before the United

States District Court for the Northern District of Texas.
Case 3:18-cv-02862-M-BH Document18 Filed 01/29/19 Page 2of5 PagelD 174

 

IV. Applicant is a member in good standing of the bar of the highest court of the state of
For Court Use Only,
Bar StatusVerified:

Florida » where Applicant regularly practices law.

 

Bar license number: 0072853 Admission date: 01-18-1996

 

 

Attach to this application an original certificate of good standing issued within the past 90 days from the
attorney licensing authority in a state in which you are admitted to practice (e.g., State Bar of Texas).

 

 

 

Vv. Applicant has also been admitted to practice before the following courts:

Court: Admission Date: Active or Inactive:
U.S. Supreme Court 05/28/2002 Active

US Dist. Court for Northern FL 12/21/2001 Active

US Dist. Court Middle FL 02/15/2002 Active

US Dist. Court Southern FL 12/21/2001 Active

 

VI. Applicant has never involuntarily lost, temporarily or permanently, the right to practice before
any court or tribunal, or resigned in lieu of discipline, except as provided below:

N/A

VII. Applicant has never been subject to grievance proceedings or involuntary removal proceedings—
regardless of outcome—while a member of the bar of any state or federal court or tribunal that requires

admission to practice, except as provided below:
N/A

VIII. Applicant has not been charged, arrested, or convicted of a criminal offense or offenses, except

as provided below (omit minor traffic offenses):
N/A
Case 3:18-cv-02862-M-BH Document18 Filed 01/29/19 Page 3of5 PagelD 175

IX. Applicant has filed for pro hac vice admission in the United States District Court for the

Northern District of Texas during the past three (3) years in the following matters:

 

 

Date of Application: Case No. And Style:
N/A N/A
N/A N/A
N/A N/A

 

(If necessary, attach statement of additional applications.)

 

 

 

 

X. Local counsel of record associated with Applicant in this matter is

Daryl K. Washington , who has offices at
325 N. St. Paul St., Suite 3950

(Street Address)

Dallas TX 75201

(City) (State) (Zip Code)

214-880-4883 214-751-6685

(Telephone No.) (Facsimile No.)

XI. Check the appropriate box below.
For Application in a Civil Case

Applicant has read Dondi Properties Corp. v. Commerce Savs. & Loan Ass'n, 121
F.R.D.284 (N.D. Tex. 1988) (en banc), and the local civil rules of this court and will
comply with the standards of practice adopted in Dondi and with the local civil rules.

For Application in a Criminal Case

[ Applicant has read and will comply with the local criminal rules of this court.

XII. Applicant respectfully requests to be admitted to practice in the United States District Court for
the Northern District of Texas for this cause only. Applicant certifies that a true and correct copy of this
document has been served upon each attorney of record and the original upon the clerk of court,

accompanied by a $25.00 filing fee, on this the 29th __ day of January , 2019

 

Benjamin L. Crump, Esq.
Printed Name of Apph

 

 
Case 3:18-cv-02862-M-BH Document 18 Filed 01/29/19 Page 4of5 PagelD 176

 

The Florida Bar

651 East Jefferson Street
Tallahassee, FL 32399-2300
Joshua E. Doyle 850/561-5600
Executive Director www.FLORIDABAR.org

State of Florida )

County of Leon ) In Re: 0072583
Ben Crump
Ben Crump Law, PLLC
122 S Calhoun St
Tallahassee, FL 32301-1518

I CERTIFY THE FOLLOWING:
I am the custodian of membership records of The Florida Bar.

Membership records of The Florida Bar indicate that The Florida Bar member listed above was admitted to
practice law in the state of Florida on January 18, 1996.

The Florida Bar member above is an active member in good standing of The Florida Bar who is eligible to
practice law in the state of Florida.

Dated this 29th day of January, 2019.

lipithua S Oo
Cynthia B. Jackson, CFO

Administration Division
The Florida Bar

PG:R10
CTM-33598

 
Case 3:18-cv-02862-M-BH Document18 Filed 01/29/19 Page5of5 PagelD 177

Supreme Court of Florida
Certificate of Good Standing

I JOHN A. TOMASINO, Clerk of the Supreme Court of the State of Florida, do

hereby certify that

BEN CRUMP
was admitted as an attorney and counselor entitled to practice law in all the
Courts of the State of Florida on January 18, 1996, is presently in good

standing, and that the private and professional character of the attorney

appear to be good.

WITNESS my hand and the Seal of the

Supreme Court of Florida at Tallahassee,

=. the Capital, this December 5, 2018.
e. Ay

   

 
